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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                    MEDFORD DIVISION


KLAMATH IRRIGATION DISTRICT,
et al.; SHASTA VIEW IRRIGATION
DISTRICT, et al.,

                 Plaintiffs,                                         No. 1:19-cv-00451-CL
                                                                     No. 1:19-cv-00531-CL
                                                                     (Consolidated)

       v.                                                            ORDER

UNITED STATES BUREAU OF
RECLAMATION, et al.,

            Defendants.
_______________________________________
McSHANE, District Judge.

       Magistrate Judge Mark D. Clarke has filed a Findings and Recommendation, ECF No. 89,

concerning Motions to Dismiss filed by Intervenor-Defendant Hoopa Valley Tribe and Intervenor-

Defendant the Klamath Tribes, ECF Nos. 74, 75. Judge Clarke recommends that the motions be

granted and the consolidated cases be dismissed.

       Under the Federal Magistrates Act, the Court may “accept, reject, or modify, in whole or

in part, the findings or recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1).

If a party files objections to a magistrate judge’s findings and recommendations, “the court shall



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make a de novo determination of those portions of the report or specified proposed findings or

recommendations to which objection is made.” Id.; Fed. R. Civ. P. 72(b)(3).

       For those portions of a magistrate judge’s findings and recommendations to which neither

party has objected, the Act does not prescribe any standard of review. See Thomas v. Arn, 474

U.S. 140, 152 (1985) (“There is no indication that Congress, in enacting [the Act], intended to

require a district judge to review a magistrate’s report to which no objections are filed.”). Although

no review is required in the absence of objections, the Magistrates Act “does not preclude further

review by the district judge[] sua sponte . . . under a de novo or any other standard.” Id. at 154.

The Advisory Committee Notes to Fed. R. Civ. P. 72(b) recommend that “[w]hen no timely

objection is filed,” the court should review the recommendation for “clear error on the face of the

record.”

       In this case, Plaintiff Klamath Irrigation District (“KID”) and Plaintiffs Shasta View

Irrigation District, Klamath Drainage District, Van Brimmer Ditch Company, Tule Lake Irrigation

District, Klamath Water Users Association, Ben Duval, and Rob Unruh (collectively “SVID

Plaintiffs”) have filed objections, ECF Nos. 93, 94. Intervenor-Defendant Hoopa Valley Tribe and

Intervenor-Defendant the Klamath Tribes have filed Responses to Plaintiffs’ Objections, ECF Nos.

95, 96. The Court has reviewed the portions of the F&R to which Plaintiffs have objected de novo

and finds no error. The Court therefore ADOPTS Judge Clarke’s F&R. The consolidated cases

are DISMISSED and final judgments shall be entered accordingly. All other pending motions are

DENIED as moot.

           It is so ORDERED and DATED this 25th day of September 2020.



                                                      s/Michael J. McShane
                                               MICHAEL McSHANE
                                               United States District Judge


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